Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 1 of 15



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                Case No. 19-cv-61532-BLOOM/Valle

   CHANEL, INC.,

                  Plaintiff,

   v.

   7AREPLICA.RU, et al.,

                  Defendants.
                                                /

          ORDER ON MOTION FOR ENTRY OF FINAL DEFAULT JUDGMENT

         THIS CAUSE is before the Court upon Plaintiff Chanel, Inc.’s (“Plaintiff”), Motion for

  Entry of Final Default Judgment Against Defendants, ECF No. [27] (the “Motion”), filed on July

  31, 2019. A Clerk’s Default, ECF No. [25], was entered against Defendants on July 24, 2019, as

  Defendants failed to appear, answer, or otherwise plead to the Complaint, ECF No. [1], despite

  having been served. See ECF No. [20]. The Court has carefully considered the Motion, the record

  in this case, the applicable law, and is otherwise fully advised. For the following reasons,

  Plaintiff’s Motion is GRANTED.

         I. Introduction

         Plaintiff sued Defendants for trademark counterfeiting and infringement under § 32 of the

  Lanham Act, 15 U.S.C. § 1114; false designation of origin under § 43(a) of the Lanham Act, 15

  U.S.C. § 1125(a); common-law unfair competition; and common law trademark infringement. The

  Complaint alleges that Defendants are promoting, advertising, distributing, offering for sale and

  selling goods bearing counterfeits and confusingly similar imitations of Plaintiff’s registered

  trademarks within the Southern District of Florida through the fully interactive commercial
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 2 of 15
                                                                 Case No. 19-cv-61532-BLOOM/Valle


  Internet websites operating under their domain names identified on Schedule “A” attached to

  Plaintiff’s Motion for Entry of Final Default Judgment (the “Subject Domain Names”), including

  the URLs identified on Schedule “C” attached to Plaintiff’s Motion. See ECF No. [27], at 16-17

  and 19-820.

          Plaintiff further asserts that Defendants’ unlawful activities have caused and will continue

  to cause irreparable injury to Plaintiff because Defendants have (1) deprived Plaintiff of its right

  to determine the manner in which its trademarks are presented to the public through

  merchandising; (2) defrauded the public into thinking Defendants’ goods are goods authorized by

  Plaintiff; (3) deceived the public as to Plaintiff’s association with Defendants’ goods and the

  websites that market and sell the goods; and (4) wrongfully traded and capitalized on Plaintiff’s

  reputation and goodwill, as well as the commercial value of Plaintiff’s trademarks.

          In its Motion, Plaintiff seeks the entry of default final judgment against Defendants1 in an

  action alleging trademark counterfeiting and infringement, false designation of origin, common-

  law unfair competition, and common law trademark infringement. Plaintiff further requests that

  the Court (1) enjoin Defendants from producing or selling goods that infringe its trademarks; (2)

  disable, or at Plaintiff’s election, transfer the domain names at issue to Plaintiff; (3) de-index the

  corresponding websites’ uniform resource locators (“URLs”) from any search engines; (4) assign

  all rights, title, and interest, to the domain names to Plaintiff and permanently delist or deindex the

  domain names from any Internet search engines; (5) suspend the e-mail addresses used by

  Defendants; and (6) award statutory damages.

          Pursuant to Federal Rule of Civil Procedure 55(b)(2), the Court is authorized to enter a

  final judgment of default against a party who has failed to plead in response to a complaint. “[A]


  1
   Defendants are the Individuals, Partnerships, and Unincorporated Associations identified on Schedule “A”
  of Plaintiff’s Motion, and Schedule “A” of this Order. See ECF No. [27], at 16-17.
                                                     2
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 3 of 15
                                                                 Case No. 19-cv-61532-BLOOM/Valle


  defendant’s default does not in itself warrant the court entering a default judgment.” DirecTV, Inc.

  v. Huynh, 318 F. Supp. 2d 1122, 1127 (M.D. Ala. 2004) (quoting Nishimatsu Constr. Co., Ltd. v.

  Houston Nat’l Bank, 515 F.2d 1200, 1206 (5th Cir. 1975)). Granting a motion for default judgment

  is within the trial court’s discretion. See Nishimatsu, 515 F.2d at 1206. Because the defendant is

  not held to admit facts that are not well pleaded or to admit conclusions of law, the court must first

  determine whether there is a sufficient basis in the pleading for the judgment to be entered. See

  id.; see also Buchanan v. Bowman, 820 F.2d 359, 361 (11th Cir. 1987) (“[L]iability is well-pled

  in the complaint, and is therefore established by the entry of default . . . .”). Upon a review of

  Plaintiff’s submissions, it appears there is a sufficient basis in the pleading for the default judgment

  to be entered in favor of Plaintiff.

          II. Factual Background2

          Plaintiff is the registered owner of the following trademarks which are valid and registered

  on the Principal Register of the United States Patent and Trademark Office (the “Chanel Marks”):

                        Registration
      Trademark                            Registration Date                   Classes/Goods
                         Number

       CHANEL             0,626,035           May 1, 1956         IC 018 - Women’s Handbags

                                                                  IC 025 - Suits, Jackets, Skirts, Dresses,
                                                                  Pants, Blouses, Tunics, Sweaters,
       CHANEL             1,241,265           June 7, 1983
                                                                  Cardigans, Coats, Raincoats, Scarves,
                                                                  Shoes and Boots
                                                                  IC 006 - Keychains
                                                                  IC 014 - Costume Jewelry
                                                                  IC 025 - Blouses, Shoes, Belts,
                          1,501,898         August 30, 1988
                                                                  Scarves, Jackets, Men’s Ties
                                                                  IC 026 - Brooches and Buttons for
                                                                  Clothing



  2
   The factual background is taken from Plaintiff’s Complaint, ECF No. [1], Plaintiff’s Motion for Entry of
  Final Default Judgment Against Defendants, ECF No. [27], and supporting evidentiary submissions.
                                                     3
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 4 of 15
                                                                    Case No. 19-cv-61532-BLOOM/Valle


                                                              IC 018 - Leather Goods; namely,
                                                              Handbags, Wallets, Travel Bags,
                                                              Luggage, Business and Credit Card
       CHANEL              1,733,051        November 17, 1992
                                                              Cases, Change Purses, Tote Bags,
                                                              Cosmetic Bags Sold Empty, and
                                                              Garment Bags for Travel

                                                              IC 018 - Leather Goods; Namely,
                                                              Handbags, Wallets, Travel Bags,
                           1,734,822        November 24, 1992 Luggage, Business Card Cases,
                                                              Change Purses, Tote Bags, and
                                                              Cosmetic Bags Sold Empty

                                                                     IC 014 - Timepieces; Namely,
           J12             2,559,772            April 9, 2002
                                                                     Watches, and Parts Thereof

       CHANEL              3,133,139          August 22, 2006        IC 014 - Jewelry and Watches

                                                              IC 009 - Protective Covers for Portable
                                                              Electronic Devices, Handheld Digital
                           4,074,269        December 20, 2011 Devices, Personal Computers and Cell
                                                              Phones
                                                              IC 018 - Key Cases
                                                              IC 025 - Clothing; Namely, Coats,
                                                              Jackets, Dresses, Tops, Blouses,
                                                              Sweaters, Cardigans, Skirts, Vests,
                           4,241,822        November 13, 2012 Pants, Jeans, Belts, Swim Wear,
                                                              Pareos, Beach Cover-Ups, Hats, Sun
                                                              Visors, Scarves, Shawls, Ties, Gloves,
                                                              Footwear, Hosiery And Socks

  See Declaration of Jennifer Bleys, ECF No. [5-1], at 4; ECF No. [1-2] (containing Certificates of

  Registrations for the Chanel Marks at issue). The Chanel Marks are used in connection with the

  manufacture and distribution of high quality luxury goods in the categories identified above. See

  Declaration of Jennifer Bleys, ECF No. [5-1], at 4-5.

          Defendants, through the various fully interactive,3 commercial Internet websites and


  3
   Plaintiff asserts multiple Defendants use some of their Subject Domain Names to act as supporting domain
  names to direct traffic to their fully-interactive, commercial websites, including those operating under other
  Subject Domain Names, from which consumers can complete purchases. The supporting domain names
  either automatically redirect and forward to a fully-interactive, commercial website operated by the
                                                        4
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 5 of 15
                                                                    Case No. 19-cv-61532-BLOOM/Valle


  supporting domains operating under their domain names identified on Schedule “A” hereto (the

  “Subject Domain Names”), including the URLs identified on Schedule “C” to Plaintiff’s Motion,

  have advertised, promoted, offered for sale, and/or sold goods bearing what Plaintiff has

  determined to be counterfeits, infringements, reproductions, or colorable imitations of the Chanel

  Marks. See Declaration of Jennifer Bleys, ECF No. [5-1], at 9-11.

          Although each Defendant may not copy and infringe each Chanel Mark for each category

  of goods protected, Plaintiff has submitted sufficient evidence showing each Defendant has

  infringed, at least, one or more of the Chanel Marks.4 See Declaration of Jennifer Bleys, ECF No.

  [5-1], at 9-11. Defendants are not now, nor have they ever been, authorized or licensed to use,

  reproduce, or make counterfeits, reproductions, or colorable imitations of the Chanel Marks. See

  Declaration of Jennifer Bleys, ECF No. [5-1], at 9-11.

          Plaintiff’s representative reviewed and visually inspected the web page captures reflecting

  various products offered for sale bearing the Chanel Marks via Defendants’ Internet websites

  operating under the Subject Domain Names, and determined the products offered for sale were

  non-genuine, unauthorized versions of Plaintiff’s products. See Declaration of Jennifer Bleys, ECF

  No. [5-1], at 10-11.



  respective Defendant, or redirect a consumer to a fully-interactive, commercial website upon clicking a
  product or link on that website. See Declaration of Jennifer Bleys, ECF No. [5-1], at 10, n.1; see also
  Declaration of Stephen M. Gaffigan, ECF No. [5-2], at 3, n.1.
  4
    Plaintiff alleges Defendants use their e-mail addresses in connection with their counterfeiting activities,
  to promote, offer for sale, and/or sell goods bearing counterfeits and infringements of Plaintiff’s trademarks
  via the Subject Domain Names; accordingly, Defendants are using their e-mail addresses to facilitate their
  counterfeiting operations. See Declaration of Stephen M. Gaffigan, ECF No. [5-2], at 3, n.2.
  Plaintiff also alleges certain Defendants use electronic communication in tandem with their respective
  Subject Domain Names in order to complete their offer and sale of Chanel branded products. Specifically,
  consumers are able to browse those Defendants’ listings of Plaintiff’s branded products online via their
  Subject Domain Names and actively exchange data with Defendants, ultimately completing the sales via e-
  mail communication with the websites’ sellers. See Declaration of Stephen M. Gaffigan, ECF No. [5-2], at
  3, n.2; Declaration of Jennifer Bleys, ECF No. [5-1], at 10, n.1.
                                                        5
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 6 of 15
                                                                Case No. 19-cv-61532-BLOOM/Valle


         III. ANALYSIS

                 A. Claims

                         1. Trademark Counterfeiting and Infringement Under 15 U.S.C. §1114
                            (Count I)

         Section 32 of the Lanham Act, 15 U.S.C. § 1114, provides liability for trademark

  infringement if, without the consent of the registrant, a defendant uses “in commerce any

  reproduction, counterfeit, copy, or colorable imitation of a registered mark: which is likely to cause

  confusion, or to cause mistake, or to deceive.” 15 U.S.C. § 1114. In order to prevail on its

  trademark infringement claim under Section 32 of the Lanham Act, Plaintiff must demonstrate that

  (1) it had prior rights to the mark at issue; and (2) Defendants adopted a mark or name that was

  the same, or confusingly similar to Plaintiff’s trademark, such that consumers were likely to

  confuse the two. Planetary Motion, Inc. v. Techsplosion, Inc., 261 F.3d 1188, 1193 (11th Cir.

  2001) (citing Lone Star Steakhouse & Saloon, Inc. v. Longhorn Steaks, Inc., 106 F.3d 355, 360

  (11th Cir. 1997)).

                         2. False Designation of Origin Under 15 U.S.C. § 1125(a) (Count II)

         To prevail on a claim for false designation of origin under Section 43(a) of the Lanham

  Act, 15 U.S.C. § 1125(a), Plaintiff must prove that Defendants used in commerce, in connection

  with any goods or services, any word, term, name, symbol or device, or any combination thereof,

  or any false designation of origin that is likely to deceive as to the affiliation, connection, or

  association of Defendants with Plaintiff, or as to the origin, sponsorship, or approval, of

  Defendants’ goods by Plaintiff. See 15 U.S.C. § 1125(a)(1). The test for liability for false

  designation of origin under 15 U.S.C. § 1125(a) is the same as for a trademark counterfeiting and

  infringement claim – i.e., whether the public is likely to be deceived or confused by the similarity of

  the marks at issue. See Two Pesos, Inc. v. Taco Cabana, Inc., 505 U.S. 763, 780 (1992).


                                                    6
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 7 of 15
                                                             Case No. 19-cv-61532-BLOOM/Valle


                         3. Common-Law Unfair Competition and Trademark Infringement
                            (Counts III and IV)

         Whether a defendant’s use of a plaintiff’s trademarks created a likelihood of confusion

  between the plaintiff’s and the defendant’s products is also the determining factor in the analysis

  of unfair competition under Florida common law. Rolex Watch U.S.A., Inc. v. Forrester, 1986 WL

  15668, at *3 (S.D. Fla. Dec. 9, 1987) (“The appropriate test for determining whether there is a

  likelihood of confusion, and thus trademark infringement, false designation of origin, and unfair

  competition under the common law of Florida, is set forth in John H. Harland, Inc. v. Clarke

  Checks, Inc., 711 F.2d 966, 972 (11th Cir. 1983.)”.); see also Boston Prof’l Hockey Ass’n, Inc. v.

  Dallas Cap & Emblem Mfg., Inc., 510 F.2d 1004, 1010 (5th Cir. 1975) (“As a general rule . . . the

  same facts which would support an action for trademark infringement would also support an action

  for unfair competition.”).

         The analysis of liability for Florida common law trademark infringement is the same as the

  analysis of liability for trademark infringement under § 32(a) of the Lanham Act. See PetMed

  Express, Inc. v. MedPets.com, Inc., 336 F. Supp. 2d 1213, 1217-18 (S.D. Fla. 2004).

                 B. Liability

         The well-pled factual allegations of Plaintiff’s Complaint properly allege the elements for

  each of the claims described above. See ECF No. [1]. Moreover, the factual allegations in

  Plaintiff’s Complaint have been substantiated by sworn declarations and other evidence and

  establish Defendants’ liability under each of the claims asserted in the Complaint. Accordingly,

  default judgment pursuant to Federal Rule of Civil Procedure 55 is appropriate.

                 C. Injunctive Relief

         Pursuant to the Lanham Act, a district court is authorized to issue an injunction “according

  to the principles of equity and upon such terms as the court may deem reasonable,” to prevent


                                                  7
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 8 of 15
                                                              Case No. 19-cv-61532-BLOOM/Valle


  violations of trademark law. See 15 U.S.C. § 1116(a). Indeed, “[i]njunctive relief is the remedy of

  choice for trademark and unfair competition cases, since there is no adequate remedy at law for

  the injury caused by a defendant’s continuing infringement.” Burger King Corp. v. Agad, 911 F.

  Supp. 1499, 1509-10 (S.D. Fla. 1995) (citing Century 21 Real Estate Corp. v. Sandlin, 846 F.2d

  1175, 1180 (9th Cir. 1988)). Moreover, even in a default judgment setting, injunctive relief is

  available. See e.g., PetMed Express, Inc., 336 F. Supp. 2d at 1222-23. Defendants’ failure to

  respond or otherwise appear in this action makes it difficult for Plaintiff to prevent further

  infringement absent an injunction. See Jackson v. Sturkie, 255 F. Supp. 2d 1096, 1103 (N.D.

  Cal. 2003) (“[D]efendant’s lack of participation in this litigation has given the court no assurance

  that defendant’s infringing activity will cease. Therefore, plaintiff is entitled to permanent

  injunctive relief.”)

          Permanent injunctive relief is appropriate where a plaintiff demonstrates that (1) it has

  suffered irreparable injury; (2) there is no adequate remedy at law; (3) the balance of hardship

  favors an equitable remedy; and (4) an issuance of an injunction is in the public’s interest. eBay,

  Inc. v. MercExchange, LLC, 547 U.S. 388, 392-93 (2006). Plaintiff has carried its burden on each

  of the four factors. Accordingly, permanent injunctive relief is appropriate.

          Specifically, in trademark cases, “a sufficiently strong showing of likelihood of confusion

  . . . may by itself constitute a showing of a substantial threat of irreparable harm.” McDonald’s

  Corp. v. Robertson, 147 F.3d 1301, 1306 (11th Cir. 1998); see also Levi Strauss & Co. v. Sunrise

  Int’l Trading Inc., 51 F.3d 982, 986 (11th Cir. 1995) (“There is no doubt that the continued sale of

  thousands of pairs of counterfeit jeans would damage LS & Co.’s business reputation and might

  decrease its legitimate sales.”). Plaintiff’s Complaint alleges that Defendants’ unlawful actions

  have caused Plaintiff irreparable injury and will continue to do so if Defendants are not



                                                   8
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 9 of 15
                                                               Case No. 19-cv-61532-BLOOM/Valle


  permanently enjoined. See ECF No. [1]. Further, the Complaint alleges, and the submissions by

  Plaintiff show, that the goods promoted, advertised, offered for sale, and sold by Defendants are

  nearly identical to Plaintiff’s genuine products and that consumers viewing Defendants’

  counterfeit goods post-sale would actually confuse them for Plaintiff’s genuine products. See id.

  “The net effect of Defendants’ actions will cause confusion of consumers at the time of initial

  interest, sale, and in the post-sale setting, who will believe Defendants’ Counterfeit Goods are

  genuine goods originating from, associated with, and approved by Chanel.” See ECF No. [1], at

  28.

          Plaintiff has no adequate remedy at law so long as Defendants continue to operate the

  Subject Domain Names and the corresponding websites’ URLs, because Plaintiff cannot control

  the quality of what appears to be its products in the marketplace. An award of monetary damages

  alone will not cure the injury to Plaintiff’s reputation and goodwill that will result if Defendants’

  infringing and counterfeiting actions are allowed to continue. Moreover, Plaintiff faces hardship

  from loss of sales and its inability to control its reputation in the marketplace. By contrast,

  Defendants face no hardship if they are prohibited from the infringement of Plaintiff’s trademarks,

  which is an illegal act.

          Finally, the public interest supports the issuance of a permanent injunction against

  Defendants to prevent consumers from being misled by Defendants’ products. See Nike, Inc. v.

  Leslie, 1985 WL 5251, at *1 (M.D. Fla. June 24, 1985) (“[A]n injunction to enjoin infringing

  behavior serves the public interest in protecting consumers from such behavior.”). The Court’s

  broad equity powers allow it to fashion injunctive relief necessary to stop Defendants’ infringing

  activities. See, e.g., Swann v. Charlotte-Mecklenburg Bd. of Educ., 402 U.S. 1, 15 (1971) (“Once

  a right and a violation have been shown, the scope of a district court’s equitable powers to remedy



                                                   9
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 10 of 15
                                                               Case No. 19-cv-61532-BLOOM/Valle


  past wrongs is broad, for . . . [t]he essence of equity jurisdiction has been the power of the

  Chancellor to do equity and to mould each decree to the necessities of the particular case.” (citation

  and internal quotation marks omitted)); United States v. Bausch & Lomb Optical Co., 321 U.S.

  707, 724 (1944) (“Equity has power to eradicate the evils of a condemned scheme by prohibition

  of the use of admittedly valid parts of an invalid whole.”). District courts are expressly authorized

  to order the transfer or surrender of domain names in an in rem action against a domain name. See

  15 U.S.C. § 1125(d)(1)(C), (d)(2). However, courts have not limited the remedy to that context.

  See, e.g., Philip Morris USA v. Otamedia Ltd., 331 F. Supp. 2d 228, 230-31 (S.D.N.Y. 2004)

  (transferring Yesmoke.com domain name to plaintiff despite the fact that plaintiff did not own a

  trademark in the term “Yesmoke” and noting that 15 U.S.C. § 1125 “neither states nor implies that

  an in rem action against the domain name constitutes the exclusive remedy for a plaintiff aggrieved

  by trademark violations in cyberspace”); Ford Motor Co. v. Cross, 441 F. Supp. 2d 837, 853 (E.D.

  Mich. 2006) (ordering the defendants to disclose all other domain registrations held by them and

  to transfer registration of a particular domain name to plaintiff in part under authority of 15 U.S.C.

  § 1116(a)).

         Defendants have created an Internet-based counterfeiting scheme in which they are

  profiting from their deliberate misappropriation of Plaintiff’s rights. Accordingly, the Court may

  fashion injunctive relief to eliminate the means by which Defendants are conducting their

  unlawful activities by transferring the Subject Domain Names and assigning all rights, title, and

  interest to the Subject Domain Names to Chanel, delisting or deindexing the Subject Domain

  Names and corresponding websites’ URLs from all search engines, and suspending Defendants’

  e-mail addresses, which are identified on Schedule “B” to Plaintiff’s Motion, such that these means

  may no longer be used as instrumentalities to further the sale of counterfeit goods.



                                                   10
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 11 of 15
                                                               Case No. 19-cv-61532-BLOOM/Valle


                 D. Statutory Damages for the Use of Counterfeit Marks

         In a case involving the use of counterfeit marks in connection with a sale, offering for sale,

  or distribution of goods, 15 U.S.C. § 1117(c) provides that a plaintiff may elect an award of

  statutory damages at any time before final judgment is rendered in the sum of not less than

  $1,000.00 nor more than $200,000.00 per counterfeit mark per type of good. 15 U.S.C. §

  1117(c)(1). In addition, if the Court finds that Defendants’ counterfeiting actions were willful, it

  may impose damages above the maximum limit up to $2,000,000.00 per mark per type of good.

  15 U.S.C. § 1117(c)(2). Pursuant to 15 U.S.C. § 1117(c), Plaintiff has elected to recover an award

  of statutory damages as to Count I of the Complaint.

         The Court has wide discretion to determine the amount of statutory damages. See PetMed

  Express, Inc., 336 F. Supp. 2d at 1219 (citing Cable/Home Commc’n Corp. v. Network Prod., Inc.,

  902 F.2d 829, 852 (11th Cir. 1990)). An award of statutory damages is appropriate despite a

  plaintiff’s inability to prove actual damages caused by a defendant’s infringement. Under Armour,

  Inc. v. 51nfljersey.com, No. 13-62809-CIV, 2014 U.S. Dist. LEXIS 56475, at *22-*23 (S.D. Fla.

  Apr. 23, 2014) (citing Ford Motor Co. v. Cross, 441 F. Supp. 2d 837, 852 (E.D. Mich. 2006) (“[A]

  successful plaintiff in a trademark infringement case is entitled to recover enhanced statutory

  damages even where its actual damages are nominal or non-existent.”)); Playboy Enter., Inc. v.

  Universal Tel-A-Talk, Inc., No. CIV.A. 96-6961, 1998 WL 767440, at *8 (E.D. Pa. Nov. 3, 1998)

  (awarding statutory damages where plaintiff failed to prove actual damages or profits). Indeed,

  Congress enacted a statutory damages remedy in trademark counterfeiting cases because evidence

  of a defendant’s profits in such cases is almost impossible to ascertain. See, e.g., S. REP. NO. 104-

  177, pt. V(7) (1995) (discussing purposes of Lanham Act statutory damages); see also PetMed

  Express, Inc., 336 F. Supp. 2d at 1220 (statutory damages are “especially appropriate in default

  judgment cases due to infringer nondisclosure”). This case is no exception.
                                                   11
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 12 of 15
                                                                Case No. 19-cv-61532-BLOOM/Valle


         This Court may award statutory damages “without holding an evidentiary hearing based

  upon affidavits and other documentary evidence if the facts are not disputed.” Perry Ellis Int’l, Inc.

  v. URI Corp., No. 06-22020-CIV, 2007 WL 3047143, at *1 (S.D. Fla. Oct. 18, 2007). Although the

  Court is permitted to conduct a hearing on a default judgment in regards to damages pursuant to Fed.

  R. Civ. P. 55(b)(2)(B), an evidentiary hearing is not necessary where there is sufficient evidence on

  the record to support the request for damages. See SEC v. Smyth, 420 F.3d 1225, 1232 n.13 (11th

  Cir. 2005) (“Rule 55(b)(2) speaks of evidentiary hearings in a permissive tone . . . We have held that

  no such hearing is required where all essential evidence is already of record.”) (citations omitted);

  see also PetMed Express, 336 F. Supp. 2d at 1223 (entering default judgment, permanent injunction

  and statutory damages in a Lanham Act case without a hearing).

         Here, the allegations in the Complaint, which are taken as true, clearly establish Defendants

  intentionally copied one or more of the Chanel Marks for the purpose of deriving the benefit of

  Plaintiff’s world-famous reputation. As such, the Lanham Act permits the Court to award up to

  $2,000,000.00 per infringing mark on each type of good as statutory damages to ensure that

  Defendants do not continue their intentional and willful counterfeiting activities.

         The evidence in this case demonstrates that each Defendant promoted, distributed,

  advertised, offered for sale, and/or sold goods bearing marks which were in fact counterfeits of at

  least one of the Chanel Marks. See ECF No. [1]. Based on the above considerations, Plaintiff

  suggests the Court award statutory damages of $1,000,000.00 against each Defendant. The award

  should be sufficient to deter Defendants and others from continuing to counterfeit or otherwise

  infringe Plaintiff’s trademarks, compensate Plaintiff, and punish Defendants, all stated goals of 15

  U.S.C. § 1117(c). The Court finds that this award of statutory damages falls within the permissible

  statutory range under 15 U.S.C. § 1117(c) and is just.



                                                    12
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 13 of 15
                                                            Case No. 19-cv-61532-BLOOM/Valle


                  E. Damages for False Designation of Origin

          Plaintiff’s Complaint also sets forth a cause of action for false designation of origin

  pursuant to § 43(a) of the Lanham Act (Count II). See 15 U.S.C. § 1125(a). As to Count II, the

  allowed scope of monetary damages is also encompassed in 15 U.S.C. § 1117(c). Accordingly,

  judgment on Count II is limited to the amount awarded pursuant to Count I and entry of the

  requested equitable relief.

                  F. Damages for Common Law Unfair Competition and Trademark
                     Infringement

          Plaintiff’s Complaint further sets forth a cause of action under Florida’s common law of

  unfair competition (Count III) and trademark infringement (Count IV). Judgment on Count III and

  Count IV are also limited to the amount awarded pursuant to Count I and entry of the requested

  equitable relief.

          IV. CONCLUSION

          Based on the foregoing, it is ORDERED AND ADJUDGED that Plaintiff’s Motion, ECF

  No. [27], is GRANTED against those Defendants listed in the attached Schedule “A.” Final

  Default Judgment will be entered by separate order.

          DONE AND ORDERED in Chambers at Miami, Florida, on July 31, 2019.




                                              ________________________________
                                              BETH BLOOM
                                              UNITED STATES DISTRICT JUDGE

  Copies to:

  Counsel of Record



                                                 13
Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 14 of 15
                                                  Case No. 19-cv-61532-BLOOM/Valle


                             SCHEDULE “A”
             DEFENDANTS BY NUMBER AND SUBJECT DOMAIN NAME

                      Defendant               Defendant /
                       Number          Subject Domain Name
                           1      7areplica.ru
                           2      aaagoodsbay.ru
                           2      aaatradeplaza.ru
                           2      offeraaa.ru
                           3      aartlusedlip.nl
                           4      bag8clothing.ru
                           4      handbag6clothing.ru
                           4      store8bag.ru
                           5      bagaaa.cn
                           5      purseaaa.cn
                           6      bags7.ru
                           7      bagsaddiction.cn
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Case 0:19-cv-61532-BB Document 28 Entered on FLSD Docket 08/01/2019 Page 15 of 15
                                                       Case No. 19-cv-61532-BLOOM/Valle


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